Case 1:05-cv-02533-EWN-MJW Document 51-1 Filed 07/14/06 USDC Colorado Page 1 of 2

 

IN THE UNITED STATES DISTRICT COURT |}:
FOR THE DISTRICT OF COLORADO y

Civil Action No. 05-cv-02533-EWN .

 

THOMAS MONTOYA,
Plaintiff,
V5.

BOARD OF COUNTY COMMISSIONERS, CHAFFEE COUNTY, COLORADO, in

their official and individual capacities,

CHAFFEE COUNTY SHERIFF TIMOTHY WALKER, in his official and individual

capacity,

CHAFFEE COUNTY DEPUTY SHERIFF SCOTT GLENN, in his official and.

individual capacity, -
DAVID PLATT, in his official and individual capacity, .
BOARD OF COUNTY COMMISSIONERS, PARK COUNTY, COLORADO, in their

official and individual capacities,

PARK COUNTY SHERIFF FRED WEGENER, in his official and individual capacity,

Defendants. —

 

NOTICE OF DEPOSITION

 

TO: ALL PARTIES AND THEIR COUNSEL OF RECORD .

PLEASE TAKE NOTICE that the undersigned counsel of record for the plaintiff
in this case will take the deposition of Fred Wegener pursuant to Federal Rules of Civil
Procedure at 1543 Champa Street, Suite 400, Denver, co $0202. Said deposition will
commence at 9:00 a.m., on July 19, 2006, and shall continue throughout the day as

necessary until completed. .

DATED this 11 day of July 2006.

 

 
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David A, Lane

1543 Champa Street, Suite 400
Denver, Colorado 80202
(303) 571-1000

ATTORNEY FOR PLAINTIFF -

CERTIFICATE OF MAILING

 

I certify that a true and correct copy of the foregoing NOTICE OF DEPOSITION °.
was electronically mailed, on this 11" day of July 2006, to the following:

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